Case 1:09-cr-20470-JEM Document 178 Entered on FLSD Docket 06/09/2010 Page 1 of 4




  09-20470.1~2
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 Case No. 09-20470 CR MARTINEZ

  UNITED STATES OF AMERICA,

          Plaintiff,

  VS.

  EMMANUEL MAXIME, et al.,

          Defendants.
                                           /

                              REPORT AND RECOMMENDATION

          This matter is before this Court on the Defendant Emmanuel Maxime's Motion to Suppress

  In and Out of Court Identification, filed May 3, 2010 (D.E. 130).' The Court has reviewed the

  Motion, the Response, and all pertinent portions of the record.

                                                 Facts

          Defendants are charged in the superseding indictment with conspiring to affect commerce by

  robbery, affecting commerce by robbery, and possession of a firearm in furtherance of a crime of

  violence that resulted in death in violation of 18 U.S.C. 8 1951(a), §924(c)(l)(A), §924(i) and 2.*

  In the robbery, which took place at the Express clothing store in Dadeland Mall on December 1,2008,

  firearms were used to rob approximately $63,000 from a Dunbar security guard who was walking

  through that store.


          'This Motion was adopted by Defendant Dwight Carter.

         *Defendant Carter was also charged with two narcotics offenses and with possession of a
  firearm in hrtherance of a drug trafficking crime.
     Case 1:09-cr-20470-JEM Document 178 Entered on FLSD Docket 06/09/2010 Page 2 of 4




               Defendants move to suppress evidence concerning pretrial photographic lineups as well as all

       identification testimony by witnesses at trial that viewed the photographic lineups. Two witnesses

       ("M.A."/Witness # 1 and "F.M."lWitness #2) picked Defendant Maxime out of a photographic lineup

       and two other witnesses ("M.P./Witness #3 and "O.S"/Witness #4) separately picked Defendant Carter

       out of a lineup.

               The Complaint affidavit states that, consistent with the store security cameras, various witnesses

       described the crime as being committed by two black males wearing dark clothing. Security cameras

       revealed that the skinnier male shot the guard, but both men had guns. After the shooting, both men

       ran out of the store and escaped through a side exit of the mall.

               The complaint fkrther states that witnesses stated that Subject 1 was loitering inside the Express

       store about 15-20 minutes prior to the robbery. It further states that "witnesses collectively described

       Subject 1 as tall (5'10 to 6'3"), heavy (250 to 350 Ibs), wearing dark clothing and a baseball cap." Aff.

       p. 4. Subject 2 was standing by some columns inside the mall near the Express during the 15-20
                                                                                                                    1
                                                                                                                    I
       minutes prior to the robbery. Subject 2 was described as "a black male, shorter than Subject 1 (5'5" to

Ii     5'10"), thinner than Subject 1 (140 to 240 lbs), and also wearing dark clothing".

              In January, 2009, photographic lineups containing six photographs were shown to Witness #1

       and Witness #2, both ofwhom identified Defendant Maxime as the person who looked like Subject #I.

       Also in January, 2009 aphotographic lineup containing six photographs was shown to Witness #3, who

       identified Defendant Carter as Subject #2. Witness #4 was shown two six person arrays containing

       different views of Defendant Carter (front and side), as well as two six-person arrays containing

       photographs of Defendant Maxime as well as Erskine Jefferey Ritchie, 11. Witness #4 identified

       Defendant Carter from the front and the side as Subject #2. Copies of the respective lineups are
Case 1:09-cr-20470-JEM Document 178 Entered on FLSD Docket 06/09/2010 Page 3 of 4




  attached as exhibits to the Government's Responses.

                                                Discussion

          The Eleventh Circuit follows a two step analysis in determining the constitutionality of the

  admission of out-of-court identifications. United States v. Diaz, 248 F.3d 1065,1102 (1 1th Cir. 200 1).

  The Court must initially determine whether the identification procedure was unduly suggestive. Id.

  Only if the answer to that question is yes, does the court continue the inquiry into "whether, under the

  totality of the circumstances," the identification was nonetheless reliable, by applying the five factor

  test announced in Neil v. Big-,    409 U.S. 188 (1972).    a3
          The Court finds that Defendants have failed to establish the first prong - i.e, that the

  procedure was unduly suggestive. In attempting to establish this prong, Defendants argue as follows:

                    Only a "collective" description of the assailants is referenced in the
             complaint. However, because the prior descriptions of the specific witnesses
             referenced in the complaint who identified the Defendant are not known, there
             is simply no way to determine how closely the Defendant matched those
             witnesses' descriptions. More importantly ... there is no way to determine
             how closely the other photographs in the lineup matched either witness' prior
             description.

                     ... If the Defendant was the only person in the photographs who fit the
             witnesses' prior descriptions when ... they viewed these photographs, it was
             inevitable they would positively identify the Defendant. A six-person
             simultaneous photographic lineup composed of persons matching a collective
             description of an unknown number of witnesses is impermissibly suggestive
             if the Defendant is the only one within that lineup who matches the prior
             description of the specific witness viewing it. ...

  Mot. pp. 4-5.

          Defendants' argument fails, in that they have not identified any particular trait which was



          3These factors include (1) opportunity to view; (2) degree of attention; (3) accuracy of the
  description; (4) level of certainty; and (5) length of time between the crime and the identification.
  Neil v. Bigaers, 409 U.S. 188, 199 (1972).
Case 1:09-cr-20470-JEM Document 178 Entered on FLSD Docket 06/09/2010 Page 4 of 4




  mentioned by any witness, collectively, or otherwise, such that the photographic displays which were

  shown to them might have been rendered suggestive. For example, if Defendants had alleged that

  a witness to the incident described the particular subjects as being black, and the only photo of a

  black male in the array was that of the particular Defendant, the array could be argued to be

  suggestive. Similarly, if one of the witnesses had stated that the subject had only one ear, and the

  only photograph in the array was that of the particular Defendant with one ear, then the photographic

  array could be considered to be suggestive. In this case, the collective descriptions do not contain

  any descriptive characteristic given by a witness upon which either Defendant could be singled out

  of their respective lineups. Defendants' speculation that some unidentified witness could have

  mentioned such a characteristic is nothing more than an unauthorized attempt to obtain discovery.

                                          Recommendation

         Accordingly, it is respecthlly recommended that the Motion to Suppress In and Out of Court

  Identification be DENIED.

         The parties have fourteen (14) days from the date of this Report and Recommendation within

  which to serve and file written objections, if any, with the Honorable Jose E. Martinez, United States

  District Judge for the Southern District of Florida. Failure to file objections timely shall bar the

 parties from attacking on appeal the factual findings contained herein. LoConte v. Duaner, 847 F.2d

  745 (I lth Cir. 1988), cert. denied, 488 U.S. 958 (1988).

         DONE AND ORDERED this             ?/r( day of Jun


 cc:     Honorable Jose E. Martinez
         counsel of record

                                                    4
